        Case 20-69706-pwb                           Doc 5       Filed 09/09/20 Entered 09/09/20 07:30:02                            Desc Ch 13
                                                                  First Mtg Page 1 of 2
Information to identify the case:
Debtor 1                  Laffayette Wilson Holland                                                Social Security number or ITIN   xxx−xx−9109

                          First Name     Middle Name     Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                           Social Security number or ITIN _ _ _ _
(Spouse, if filing)       First Name     Middle Name     Last Name
                                                                                                   EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                               Date case filed for chapter 13 9/8/20

Case number:          20−69706−pwb



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees.
Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a
stay.
Confirmation of a chapter 13 plan may result in a discharge. (See line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response
system is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                    About Debtor 1:                                           About Debtor 2:
1. Debtor's full name                               Laffayette Wilson Holland

2. All other names used in the
   last 8 years
                                                    4725 North Cobb Parkway, NW
3. Address                                          Lot 150
                                                    Acworth, GA 30101
                                                    Will B. Geer                                           Contact phone (678) 587−8740
     Debtor's attorney                              Wiggam & Geer, LLC
4.                                                  Suite 1150
     Name and address                               50 Hurt Plaza SE                                       Email: wgeer@wiggamgeer.com
                                                    Atlanta, GA 30303

5. Bankruptcy trustee                               Mary Ida Townson                                          Contact phone (404) 525−1110
                                                    Chapter 13 Trustee                                        www.atlch13tt.com
                                                    Suite 1600
     Name and address                               285 Peachtree Center Ave, NE
                                                    Atlanta, GA 30303

6. Bankruptcy clerk's office                                                                                 Office Hours: 8:00 a.m. − 4:00 p.m.
                                                    M. Regina Thomas
                                                    Clerk of Court                                           Court website: www.ganb.uscourts.gov
     Documents in this case may be
     filed at this address. You may                 1340 United States Courthouse
     inspect all records filed in this case                                                                  Contact phone 404−215−1000
                                                    75 Ted Turner Drive SW
     at this office or online at                    Atlanta, GA 30303
      www.pacer.gov.
                                                                                                                   For more information, see page 2


Official Form 309I (For Individuals or Joint Debtors)       Notice of Chapter 13 Bankruptcy Case                                            page 1
       Case 20-69706-pwb                               Doc 5      Filed 09/09/20 Entered 09/09/20 07:30:02                                        Desc Ch 13
                                                                    First Mtg Page 2 of 2
Debtor Laffayette Wilson Holland                                                                                                            Case number 20−69706−pwb

7. Meeting of creditors                           October 8, 2020 at 12:30 PM                                           Location:
                                                                                                                        Meeting will be telephonic. To attend, Dial:
                                                                                                                        866−810−0748 and enter: 2643038, when
    Debtors must attend the meeting               The meeting may be continued or adjourned to a later date. If so,     prompted for participation code.
    to be questioned under oath. In a             the date will be on the court docket.
    joint case, both spouses must
    attend.                                       TO THE DEBTOR: Bring an original government issued photo ID
    Bring a copy of this notice with              and confirmation of social security number. Provide the Trustee a
    you. Creditors may attend, but are            copy of your most recently filed tax return seven days prior to the
    not required to do so. Cellular               meeting, but DO NOT FILE WITH THE COURT.
    phones and other devices with
    cameras are not allowed in the
    building.                                     TO OTHER PARTIES: Objections to confirmation must be filed
                                                  and served in accordance with FRBP 3015 at least seven days
                                                  before the date set for the confirmation hearing.
8. Deadlines                                       Deadline to file a complaint to challenge                                  Filing deadline: 12/7/20
                                                   dischargeability of certain debts: You must file:
    The bankruptcy clerk's office                  •    a motion if you assert that the debtors are
    must receive these documents and                    not entitled to receive a discharge under
    any required filing fee by the                      U.S.C. § 1328(f) or
    following deadlines.                           •    a complaint if you want to have a particular
                                                        debt excepted from discharge under
                                                        11 U.S.C. § 523(a)(2) or (4).
                                                   Deadline for all creditors to file a proof of claim                        Filing deadline: 11/17/20
                                                   (except governmental units):
                                                   Deadline for governmental units to file a proof of                         Filing deadline: 3/8/21
                                                   claim:


                                                   Deadlines for filing proof of claim:
                                                   A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                   www.uscourts.gov or any bankruptcy clerk's office.

                                                   To file a claim electronically, visit www.ganb.uscourts.gov and access the ePOC tab.
                                                   If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                   a proof of claim even if your claim is listed in the plan or schedules filed by the debtor.
                                                   Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                   claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                   For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                                   including the right to a jury trial.


                                                   Deadline to object to exemptions:                                           Filing deadline:   30 days after the
                                                   The law permits debtors to keep certain property as exempt. If you                             conclusion of the
                                                   believe that the law does not authorize an exemption claimed, you                              meeting of creditors
                                                   may file an objection.

9. Filing of Plan, Hearing on                     Debtor's counsel is responsible for mailing the plan if not filed contemporaneously with the petition.
   Confirmation of Plan,                          The hearing on confirmation will be held: Date: 11/18/20 ,         Time: 09:30 AM ,   Location: Courtroom 1401,
   Allowance and Approval of                      Russell Federal Building, 75 Ted Turner Drive SW, Atlanta, GA 30303
   Debtor's Counsel Attorneys                     Given the current public health crisis, hearings may be telephonic only. Please check the
   Fees                                           "Important Information Regarding Court Operations During COVID−19 Outbreak" tab at the
                                                  top of the GANB Website (www.ganb.uscourts.gov) prior to the hearing for instructions on
                                                  whether to appear in person or by phone.
10. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                        extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                   any questions about your rights in this case.
11. Filing a chapter 13                            Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                                according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                   plan and appear at the confirmation hearing. The debtor will remain in possession of the property and may
                                                   continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                                   the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                             Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                   However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                                   are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                                   except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                                   523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                                   If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                                   you must file a motion by the deadline.




Official Form 309I (For Individuals or Joint Debtors)         Notice of Chapter 13 Bankruptcy Case                                                      page 2
